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                       UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                                 Tampa Division
                         Case No. 8:20-cv-2184-MSS-SPF

  MELANIE MOORE

        Plaintiff,
                     v.

  POOCHES OF LARGO, INC. &
  LUIS MARQUEZ

        Defendants.
  __________________________________/

                          DEFENDANTS’ TRIAL EXHIBIT LIST

   Exhibit Date       Date     Witness Objections/Stipulated Description                 of
   No.     Identified Admitted         Admissions            Exhibit

   1.                                                                    Plaintiff’s
                                                                         paycheck stub
                                                                         from Pooches of
                                                                         Largo, Inc. for
                                                                         her first week of
                                                                         employment


   2.                                                                    Plaintiff’s direct
                                                                         deposit     notice
                                                                         from Pooches of
                                                                         Largo, Inc. for
                                                                         second and third
                                                                         weeks            of
                                                                         employment
   3.                                                                    8/31/2018 Text
                                                                         exchange
                                                                         between Plaintiff
                                                                         and         Alison
                                                                         Nieves
   4.                                                                    Unauthenticated
                                                                         Indeed.com job
                                                                         posting         for
                                                                         Certified
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                                                                      Veterinary
                                                                      Technician       at
                                                                      the         Largo,
                                                                      Florida Petland
                                                                      location.
   5.                                                                 12/6/2018
                                                                      Demand       letter
                                                                      from Cellar Legal
                                                                      P.A. to Pooches
                                                                      of Largo, Inc.
   6.                                                                 Screenshot       of
                                                                      Indeed.com
                                                                      showing
                                                                      performance
                                                                      analytics       for
                                                                      Pooches          of
                                                                      Largo, Florida’s
                                                                      Kennel
                                                                      Technician job
                                                                      posting.
   7.                                                                 Copies           of
                                                                      Plaintiff’s   time
                                                                      slips         from
                                                                      Pooches          of
                                                                      Largo, Florida.
   8.                                                                 Wage Agreement
                                                                      indicating
                                                                      $35,000 salary


                             Respectfully submitted,

                              /s/ Matthew Sarelson
                              Matthew Seth Sarelson, Esq.
                              DHILLON LAW GROUP, INC.
                              Counsel for Defendants
                              1601 Forum Place, Suite 403
                              West Palm Beach, Florida 33401
                              305-773-1952
                              msarelson@dhillonlaw.com
                              Florida Bar No. 888281
